Case 2:23-cv-00591-JRG-RSP Document 8 Filed 02/07/24 Page 1 of 4 PageID #: 191




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



                                                  )
DISPLAY TECHNOLOGIES, LLC                         )
                                                  )
Plaintiff,                                        )
                                                  )
                       v.                         ) C.A. No. 2:23-cv-00591
                                                  )
SIRIUS XM RADIO, INC.,                            )
                                                  )
Defendant.                                        )
                                                  )


    JOINT MOTION TO EXTEND THE DEADLINE TO ANSWER OR OTHERWISE
             RESPOND TO PLAINTIFF’S ORIGINAL COMPLAINT

        Plaintiff Display Technologies, LLC (“Display” or “Plaintiff”) and Defendant Sirius XM

Radio, Inc. (“SXM” or “Defendant”) (collectively, “the parties”), file this Joint Motion for

Extension of Time to Answer or Otherwise Respond to Plaintiff’s Original Complaint and

respectfully move for fifteen (15) days, up to and including March 4, 2024.

        SXM was served on December 27, 2023. SXM previously applied for, and was granted,

an extension of time to answer up to February 16, 2024. Display and SXM are currently

engaged in discussions which would resolve this matter in its entirety, and therefore respectfully

request that the Court enter an order extending the time to answer or otherwise respond in this

case until March 4, 2024. The parties have conferred and counsel for Display consents to and

joins this motion for extension.

        The parties submit that this extension is needed to allow time for continued discussions

relating to early resolution, made in good faith, for good cause, and not for dilatory purposes.

Further, this motion to extend is intended to conserve judicial resources by pursuing an expedient
Case 2:23-cv-00591-JRG-RSP Document 8 Filed 02/07/24 Page 2 of 4 PageID #: 192




conclusion to this litigation, if possible. Accordingly, Display and SXM respectfully request that

this Court extend the deadline for SXM to answer or otherwise respond to Plaintiff’s complaint

up to and including March 4, 2024.

       A proposed Order reflecting the parties’ request for a stay is filed herewith.



Dated: February 7, 2024                           Respectfully submitted,


                                                  By: /s/ Mark A. Baghdassarian

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                                                  Counsel for Defendant Sirius
                                                  XM Radio, Inc.




                                               -2-
Case 2:23-cv-00591-JRG-RSP Document 8 Filed 02/07/24 Page 3 of 4 PageID #: 193




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have

consented to electronic service are being served with a copy of the foregoing via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) on February 7, 2024.

                                                  By: /s/ Mark A. Baghdassarian




                                               -3-
Case 2:23-cv-00591-JRG-RSP Document 8 Filed 02/07/24 Page 4 of 4 PageID #: 194




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



                                                )
DISPLAY TECHNOLOGIES, LLC                       )
                                                )
Plaintiff,                                      )
                                                )
                      v.                        ) C.A. No. 2:23-cv-00591
                                                )
SIRIUS XM RADIO, INC.,                          )
                                                )
Defendant.                                      )
                                                )


 ORDER GRANTING JOINT MOTION FOR AN EXTENSION OF TIME TO ANSWER
     OR OTHERWISE RESPOND TO PLAINTIFF’S ORIGINAL COMPLAINT

        WHEREFORE, this Court has considered Plaintiff Display Technologies, LLC and

Defendant Sirius XM Radio, Inc.’s Joint Motion for Extension of Time to Answer or Otherwise

Respond to Plaintiff’s Original Complaint;


        WHEREFORE, good cause appearing, it is therefore ORDERED that the deadline to

answer or otherwise respond in this case is extended up to and including March 4, 2024;


        SO ORDERED.




                                             -4-
